      Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 1 of 33


1
                          UNITED STATES DISTRICT COURT
2
                         EASTERN DISTRICT OF CALIFORNIA
3

4
     UNITED STATES OF AMERICA,               No. 2:15-cr-190-GEB
5
                   Plaintiff,
6
          v.                                 CLOSING JURY INSTRUCTIONS
7
     GEORGE LARSEN, et. al.,
8
                   Defendants.
9

10              The attached proposed closing jury instructions amend

11   the closing jury instructions docketed as ECF No. 294, in

12   accordance with the undersigned’s understanding of changes

13   requested during the November 30, 2017 conference regarding the

14   closing instructions and verdict forms; except for the change

15   Defendant Larsen requested in his proposed jury instruction filed

16   on November 30, 2017 as ECF No. 304.        That instruction was not

17   included because the attached liability instructions adequately

18   cover the indicted crime.

19              The verdict form docketed as ECF NO. 240, concerning

20   Defendant Todt will be amended to reflect the name “Larry Allen

21   Todt”, instead of “Larry Todt”.

22              Any party may submit additional or different changes as

23   soon as feasible.

24              Dated:   December 4, 2017

25

26
27

28
      Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 2 of 33


1
                                 INSTRUCTION NO. 1
2
                Members of the jury, now that you have heard all the
3
     evidence, it is my duty to instruct you on the law that applies
4
     to this case. Each of you now possesses a copy of these
5
     instructions that you may take to the jury room to consult if you
6
     desire.
7
                It is your duty to weigh and to evaluate all the
8
     evidence received in the case and, in that process, to decide the
9
     facts. It is also your duty to apply the law as I give it to you
10
     to the facts as you find them, whether you agree with the law or
11
     not. You must decide the case solely on the evidence and the law
12
     and must not be influenced by any personal likes or dislikes,
13
     opinions, prejudices, or sympathy. You will recall that you took
14
     an oath promising to do so at the beginning of the case.
15
                You must follow all these instructions and not single
16
     out some and ignore others; they are all important. Please do not
17
     read into these instructions or into anything I may have said or
18
     done any suggestion as to what verdict you should return—that is
19
     a matter entirely up to you.
20
21

22

23

24

25

26
27

28


                                          1
      Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 3 of 33


1
                                 INSTRUCTION NO. 2
2
                The indictment is not evidence. The defendants have
3
     pleaded not guilty to the charges. The defendants are presumed to
4
     be innocent unless and until the United States proves the
5
     defendants guilty beyond a reasonable doubt. In addition, the
6
     defendants do not have to testify or present any evidence to
7
     prove innocence. The United States has the burden of proving
8
     every element of the charges beyond a reasonable doubt.
9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                          2
      Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 4 of 33


1
                                 INSTRUCTION NO. 3
2
                A defendant in a criminal case has a constitutional
3
     right not to testify. You may not draw any inference of any kind
4
     from the fact that any of the defendants did not testify.
5
                Defendant Todt has testified. You should treat this
6
     testimony just as you would the testimony of any other witness.
7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                          3
      Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 5 of 33


1
                                 INSTRUCTION NO. 4
2
                Proof beyond a reasonable doubt is proof that leaves
3
     you firmly convinced the defendant is guilty. It is not required
4
     that the United States prove guilt beyond all possible doubt.
5
                A reasonable doubt is a doubt based upon reason and
6
     common sense and is not based purely on speculation. It may arise
7
     from a careful and impartial consideration of all the evidence,
8
     or from lack of evidence.
9
                If after a careful and impartial consideration of all
10
     the evidence, you are not convinced beyond a reasonable doubt
11
     that the defendants are guilty, it is your duty to find the
12
     defendants not guilty. On the other hand, if after a careful and
13
     impartial consideration of all the evidence, you are convinced
14
     beyond a reasonable doubt that the defendants are guilty, it is
15
     your duty to find the defendants guilty.
16

17

18

19

20
21

22

23

24

25

26
27

28


                                          4
      Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 6 of 33


1
                                 INSTRUCTION NO. 5
2
                The evidence you are to consider in deciding what the
3
     facts are consists of:
4
                (1) the sworn testimony of any witness; and
5
                (2) the exhibits received in evidence.
6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                          5
      Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 7 of 33


1
                                 INSTRUCTION NO. 6
2
                In reaching your verdict you may consider only the
3
     testimony and exhibits received in evidence. The following things
4
     are not evidence and you may not consider them in deciding what
5
     the facts are:
6
                1.    Questions, statements, objections, and arguments
7
     by the lawyers are not evidence. The lawyers are not witnesses.
8
     Although you must consider a lawyer’s questions to understand the
9
     answers of a witness, the lawyer’s questions are not evidence.
10
     Similarly, what the lawyers and parties have said in their
11
     opening statements, closing arguments and at other times is
12
     intended to help you interpret the evidence, but it is not
13
     evidence. If the facts as you remember them differ from the way
14
     the lawyers state them, your memory of them controls.
15
                2.    Any testimony that I have excluded, stricken, or
16
     instructed you to disregard is not evidence.
17
                3.    Anything you may have seen or heard when the court
18
     was not in session is not evidence. You are to decide the case
19
     solely on the evidence received at the trial.
20
21

22

23

24

25

26
27

28


                                          6
      Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 8 of 33


1
                                 INSTRUCTION NO. 7
2
                Evidence may be direct or circumstantial. Direct
3
     evidence is direct proof of a fact, such as testimony by a
4
     witness about what that witness personally saw or heard or did.
5
     Circumstantial evidence is indirect evidence, that is, it is
6
     proof of one or more facts from which you can find another fact.
7
                You are to consider both direct and circumstantial
8
     evidence. Either can be used to prove any fact. The law makes no
9
     distinction between the weight to be given to either direct or
10
     circumstantial evidence. It is for you to decide how much weight
11
     to give to any evidence.
12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                          7
      Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 9 of 33


1
                                  INSTRUCTION NO. 8
2
                In deciding the facts in this case, you may have to
3
     decide which testimony to believe and which testimony not to
4
     believe. You may believe everything a witness says, or part of
5
     it, or none of it.
6
                In considering the testimony of any witness, you may
7
     take into account:
8
                (1) the witness’s opportunity and ability to see or
9
                     hear or know the things testified to;
10
                (2) the witness’s memory;
11
                (3) the witness’s manner while testifying;
12
                (4) the witness’s interest in the outcome of the case,
13
                     if any;
14
                (5) the witness’s bias or prejudice, if any;
15
                (6) whether other evidence contradicted the witness’s
16
                     testimony;
17
                (7) the reasonableness of the witness’s testimony in
18
                     light of all the evidence; and
19
                (8) any other factors that bear on believability.
20
21
                The weight of the evidence as to a fact does not
22
     necessarily depend on the number of witnesses who testify. What
23
     is important is how believable the witnesses were, and how much
24
     weight you think their testimony deserves.
25

26
27

28


                                          8
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 10 of 33


1
                                INSTRUCTION NO. 9
2
               You are here only to determine whether the defendants
3
     are guilty or not guilty of the charges in the indictment. The
4
     defendants are not on trial for any conduct or offense not
5
     charged in the indictment.
6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                          9
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 11 of 33


1
                                INSTRUCTION NO. 10
2
               A separate crime is charged against one or more of the
3
     defendants in each count. The charges have been joined for trial.
4
     You must decide the case of each defendant on each crime charged
5
     against that defendant separately. Your verdict on any count as
6
     to any defendant should not control your verdict on any other
7
     count or as to any other defendant.
8
               All the instructions apply to each defendant and to
9
     each count unless a specific instruction states that it applies
10
     only to a specific count.
11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                         10
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 12 of 33


1
                                INSTRUCTION NO. 11
2
               Although the defendants are being tried together, you
3
     must give separate consideration to each defendant. In doing so,
4
     you must determine which evidence in the case applies to each
5
     defendant, disregarding any evidence admitted solely against some
6
     other defendants. The fact that you may find one of the
7
     defendants guilty or not guilty should not control your verdict
8
     as to any other defendants.
9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                         11
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 13 of 33


1
                                INSTRUCTION NO. 12
2
               The indictment charges that a crime was committed “on
3
     or about” a certain date. The United States does not have to
4
     prove that the crime occurred on an exact date. The United States
5
     only has to prove beyond a reasonable doubt that the crime was
6
     committed on a date reasonably close to the date alleged.
7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                         12
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 14 of 33


1
                                INSTRUCTION NO. 13
2
               You have heard testimony from Fred Meredith, Joan
3
     Hangarter, and Curtis Guillotte, witnesses who received immunity.
4
     That testimony was given in exchange for a promise by the United
5
     States that the testimony will not be used in any case against
6
     the witness. For this reason, in evaluating the testimony of
7
     these witnesses, you should consider the extent to which or
8
     whether their testimony may have been influenced by this factor.
9
     In addition, you should examine the testimony of these witnesses
10
     with greater caution than that of other witnesses.
11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                         13
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 15 of 33


1
                                INSTRUCTION NO. 14
2
               You have heard testimony from Remus Kirkpatrick and
3
     Tisha Trites, who pleaded guilty to a crime arising out of the
4
     same events for which the defendants are on trial. These guilty
5
     pleas are not evidence against the defendants, and you may
6
     consider them only in determining these witnesses’ believability.
7
               For this reason, in evaluating the testimony of these
8
     witnesses, you should consider the extent to which or whether
9
     their testimony may have been influenced by this factor. In
10
     addition, you should examine the testimony of these witnesses
11
     with greater caution than that of other witnesses.
12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                         14
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 16 of 33


1
                                INSTRUCTION NO. 15
2
               Certain charts and summaries have been admitted in
3
     evidence. Charts and summaries are only as good as the underlying
4
     supporting material. You should, therefore, give them only such
5
     weight as you think the underlying material deserves.
6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                         15
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 17 of 33


1
                                INSTRUCTION NO. 16
2
               The defendants are charged in Count One of the
3
     indictment with conspiring to falsely make lending association
4
     writings and to commit bank fraud, in violation of Section 371 of
5
     Title 18 of the United States Code. In order for each of the
6
     defendants to be found guilty of that charge, the government must
7
     prove each of the following elements beyond a reasonable doubt:
8
               First, beginning on or about April 22, 2010, and ending
9
     on or about November 18, 2011, there was an agreement between two
10
     or more persons to commit at least one crime as charged in the
11
     indictment—to wit, to falsely make lending association writings
12
     or to commit bank fraud;
13
               Second, each of the defendants became members of the
14
     conspiracy knowing of at least one of its objects and intending
15
     to help accomplish it; and
16
               Third, one of the members of the conspiracy performed
17
     at least one overt act on or after April 22, 2010, for the
18
     purpose of carrying out the conspiracy.
19
               A conspiracy is a kind of criminal partnership—an
20
     agreement of two or more persons to commit one or more crimes.
21
     The crime of conspiracy is the agreement to do something
22
     unlawful; it does not matter whether the crime agreed upon was
23
     committed.
24
               For a conspiracy to have existed, it is not necessary
25
     that the conspirators made a formal agreement or that they agreed
26
     on every detail of the conspiracy. It is not enough, however,
27
     that they simply met, discussed matters of common interest, acted
28


                                         16
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 18 of 33


1
     in similar ways, or perhaps helped one another. You must find
2
     that there was a plan to commit at least one of the crimes
3
     alleged in the indictment as an object of the conspiracy with all
4
     of you agreeing as to the particular crime which the conspirators
5
     agreed to commit.
6
               One becomes a member of a conspiracy by willfully
7
     participating in the unlawful plan with the intent to advance or
8
     further some object or purpose of the conspiracy, even though the
9
     person does not have full knowledge of all the details of the
10
     conspiracy. Furthermore, one who willfully joins an existing
11
     conspiracy is as responsible for it as the originators. On the
12
     other hand, one who has no knowledge of a conspiracy, but happens
13
     to act in a way which furthers some object or purpose of the
14
     conspiracy, does not thereby become a conspirator. Similarly, a
15
     person does not become a conspirator merely by associating with
16
     one or more persons who are conspirators, nor merely by knowing
17
     that a conspiracy exists.
18
               An overt act does not itself have to be unlawful. A
19
     lawful act may be an element of a conspiracy if it was done for
20
     the purpose of carrying out the conspiracy. The government is not
21
     required to prove that the defendant personally did one of the
22
     overt acts.
23

24

25

26
27

28


                                         17
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 19 of 33


1
                                INSTRUCTION NO. 17
2
               A conspiracy may continue for a long period of time and
3
     may include the performance of many transactions. It is not
4
     necessary that all members of the conspiracy join it at the same
5
     time, and one may become a member of a conspiracy without full
6
     knowledge of all the details of the unlawful scheme or the names,
7
     identities, or locations of all of the other members.
8
               Even though a defendant did not directly conspire with
9
     the other defendants or other conspirators in the overall scheme,
10
     the defendant has, in effect, agreed to participate in the
11
     conspiracy if the government proves each of the following beyond
12
     a reasonable doubt that:
13
               (1) the defendant directly conspired with one or more
14
                    conspirators to carry out at least one of the
15
                    objects of the conspiracy;
16
               (2) the defendant knew or had reason to know that other
17
                    conspirators were involved with those with whom the
18
                    defendant directly conspired; and
19
               (3) the defendant had reason to believe that whatever
20
                    benefits the defendant might get from the
21
                    conspiracy were probably dependent upon the success
22
                    of the entire venture.
23

24
               It is not a defense that a person’s participation in a
25
     conspiracy was minor or for a short period of time.
26
27

28


                                         18
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 20 of 33


1
                                INSTRUCTION NO. 18
2
               Because one of the objects of the conspiracy charged in
3
     Count One is falsely making a writing of certain lending
4
     associations, in violation of Section 493 of Title 18 of the
5
     United States Code, I will instruct you on the elements of
6
     falsely making a writing of certain lending associations.
7
     However, the United States is not required to prove any element
8
     of falsely making a writing of certain lending associations
9
     unless I have included that element in the conspiracy instruction
10
     I have already provided to you. Nor is the United States required
11
     to prove that falsely making a writing of certain lending
12
     associations actually occurred. The elements of falsely making a
13
     writing of certain lending associations are:
14
               First, a person falsely made, forged, counterfeited, or
15
     altered a note, obligation, instrument or writing; and
16
               Second, said document was made in imitation or
17
     purporting to be in imitation of a note, obligation, instrument
18
     or writing of any land bank, intermediate credit bank, insured
19
     credit union, bank for cooperatives or any lending, mortgage,
20
     insurance or savings and loan corporation or association
21
     authorized or acting under the laws of the United States.
22
               A bank that is insured through the federal deposit
23
     insurance corporation is a bank that is authorized or acting
24
     under the laws of the United States.
25

26
27

28


                                         19
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 21 of 33


1
                                INSTRUCTION NO. 19
2
                 Defendant George Larsen is charged in Counts Nineteen,
3
     Twenty, Twenty-Three, Twenty-Four, and Thirty-Three; and
4
     defendant Larry Allen Todt is charged in Count Thirty-One of the
5
     indictment with bank fraud in violation of Section 1344(1) of
6
     Title 18 of the United States Code. In order for each of the
7
     defendants to be found guilty of that charge, the government must
8
     prove each of the following beyond a reasonable doubt:
9
                 First, each of the defendants knowingly executed, or
10
     attempted to execute, a scheme to defraud a financial institution
11
     as to a material matter;
12
                 Second, each of the defendants did so with the intent
13
     to defraud the financial institution; and
14
                 Third, the financial institution was insured by the
15
     Federal Deposit Insurance Corporation or was a mortgage lending
16
     business.
17
                 The phrase “scheme to defraud” means any deliberate
18
     plan of action or course of conduct by which someone intends to
19
     deceive, cheat, or deprive a financial institution of something
20
     of value. It is not necessary for the government to prove that a
21
     financial institution was the only or sole victim of the scheme
22
     to defraud. It is also not necessary for the government to prove
23
     that the defendant was actually successful in defrauding any
24
     financial institution. Finally, it is not necessary for the
25
     government to prove that any financial institution lost any money
26
     or property as a result of the scheme to defraud.
27
                 An intent to defraud is an intent to deceive or cheat.
28


                                         20
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 22 of 33


1
               An attempt to commit bank fraud requires the intent to
2
     commit bank fraud, as described above, as well as a substantial
3
     step by that defendant toward committing bank fraud. Mere
4
     preparation is not a substantial step toward committing the
5
     crime. To constitute a substantial step, a defendant’s act or
6
     actions must demonstrate that the crime will take place unless
7
     interrupted by independent circumstances.
8
               A mortgage lending business means an organization which
9
     finances or refinances any debt secured by an interest in real
10
     estate, including private mortgage companies and any subsidiaries
11
     of such organizations, and whose activities affect interstate or
12
     foreign commerce.
13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                         21
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 23 of 33


1
                                INSTRUCTION NO. 20
2
               Whether the financial institution acted prudently is
3
     irrelevant to whether the defendant acted with the intent to
4
     defraud that financial institution.
5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                         22
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 24 of 33


1
                                INSTRUCTION NO. 21
2
               If you decide that the defendant was a member of a
3
     scheme to defraud and that the defendant had the intent to
4
     defraud, the defendant may be responsible for other co-schemers’
5
     actions during the course of and in furtherance of the scheme,
6
     even if the defendant did not know what they said or did.
7
               For the defendant to be guilty of an offense committed
8
     by a co-schemer in furtherance of the scheme, the offense must be
9
     one that the defendant could reasonably foresee as a necessary
10
     and natural consequence of the scheme to defraud.
11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                         23
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 25 of 33


1
                                INSTRUCTION NO. 22
2
               An act is done knowingly if the defendant is aware of
3
     the act and does not act or fail to act through ignorance,
4
     mistake, or accident.     The government is not required to prove
5
     that the defendant knew that his acts or omissions were unlawful.
6
     You may consider evidence of the defendant’s words, acts, or
7
     omissions, along with all the other evidence, in deciding whether
8
     the defendant acted knowingly.
9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                         24
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 26 of 33


1
                                INSTRUCTION NO. 23
2
               You may find that a defendant acted knowingly if you
3
     find beyond a reasonable doubt that a defendant:
4
               1. Was aware of a high probability that the recorded
5
     documents prepared by or signed by, or caused to be prepared by
6
     the defendant contained false statements, and
7
               2. Deliberately avoided learning the truth.
8
               You may not find such knowledge, however, if you find
9
     that the defendant actually believed that the recorded documents
10
     did not contain false statements or if you find that the
11
     defendant was simply careless.
12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                         25
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 27 of 33


1
                                INSTRUCTION NO. 24
2
               A defendant may be found guilty of bank fraud, in
3
     violation of Title 18, United States Code Section 1344(1), even
4
     if the defendant personally did not commit the act or acts
5
     constituting the crime but aided and abetted in its commission.
6
     To prove a defendant guilty of bank fraud by aiding and abetting,
7
     the United States must prove each of the following beyond a
8
     reasonable doubt:
9
               First, bank fraud was committed by someone;
10
               Second, the defendant aided, counseled, commanded,
11
     induced, or procured that person with respect to at least one
12
     element of bank fraud;
13
               Third, the defendant acted with the intent to
14
     facilitate bank fraud; and
15
               Fourth, the defendant acted before the crime was
16
     completed.
17
               It is not enough that the defendant merely associated
18
     with the person committing the crime, or unknowingly or
19
     unintentionally did things that were helpful to that person, or
20
     was present at the scene of the crime. The evidence must show
21
     beyond a reasonable doubt that the defendant acted with the
22
     knowledge and intention of helping that person commit bank fraud.
23
               A defendant acts with the intent to facilitate the
24
     crime when the defendant actively participates in a criminal
25
     venture with advance knowledge of the crime and having acquired
26
     that knowledge when the defendant still had a realistic
27
     opportunity to withdraw from the crime.
28


                                         26
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 28 of 33


1
               The United States is not required to prove precisely
2
     which defendant actually committed the crime and which defendant
3
     aided and abetted.
4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                         27
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 29 of 33


1
                                INSTRUCTION NO. 25
2
               When you begin your deliberations, elect one member of
3
     the jury as your presiding juror who will preside over the
4
     deliberations and speak for you here in court.
5
               You will then discuss the case with your fellow jurors
6
     to reach agreement if you can do so. Your verdict, whether guilty
7
     or not guilty, must be unanimous.
8
               Each of you must decide the case for yourself, but you
9
     should do so only after you have considered all the evidence,
10
     discussed it fully with the other jurors, and listened to the
11
     views of your fellow jurors.
12
               Do not be afraid to change your opinion if the
13
     discussion persuades you that you should. But do not come to a
14
     decision simply because other jurors think it is right.
15
               It is important that you attempt to reach a unanimous
16
     verdict but, of course, only if each of you can do so after
17
     having made your own conscientious decision. Do not change an
18
     honest belief about the weight and effect of the evidence simply
19
     to reach a verdict.
20
21

22

23

24

25

26
27

28


                                         28
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 30 of 33


1
                                INSTRUCTION NO. 26
2
               Some of you have taken notes during the trial. Whether
3
     or not you took notes, you should rely on your own memory of what
4
     was said. Notes are only to assist your memory. You should not be
5
     overly influenced by your notes or those of your fellow jurors.
6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                         29
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 31 of 33


1
                                INSTRUCTION NO. 27
2
               The punishment provided by law for this crime is for
3
     the court to decide. You may not consider punishment in deciding
4
     whether the United States has proved its case against the
5
     defendant beyond a reasonable doubt.
6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                         30
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 32 of 33


1
                                INSTRUCTION NO. 28
2
               A verdict form has been prepared for you. After you
3
     have reached unanimous agreement on a verdict, your foreperson
4
     should complete the verdict form according to your deliberations,
5
     sign and date it, and advise the court security officer that you
6
     are ready to return to the courtroom.
7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                         31
     Case 2:15-cr-00190-KJM Document 318 Filed 12/05/17 Page 33 of 33


1
                                INSTRUCTION NO. 29
2
               If it becomes necessary during your deliberations to
3
     communicate with me, you may send a note through the clerk or
4
     court security officer, signed by any one or more of you. No
5
     member of the jury should ever attempt to communicate with me
6
     except by a signed writing, and I will respond to the jury
7
     concerning the case only in writing or here in open court. If you
8
     send out a question, I will consult with the lawyers before
9
     answering it, which may take some time. You may continue your
10
     deliberations while waiting for the answer to any question. You
11
     are not to tell anyone—including me—how the jury stands,
12
     numerically or otherwise, on any question submitted to you,
13
     including the question of the guilt of the defendant, until after
14
     you have reached a unanimous verdict or have been discharged.
15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                         32
